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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLOR]])A

ORLANDO DIVISION
CASE NO.: 10-03756-KSJ
lN RE: CHAPTER 7 CASE
EARL BRAXTON, JR.
VALERIE A. BRAXTON
Aka VALER[E PERKINS-BRAXTON
Debtors.
/

 

MOTION FOR RELIEF FROM STAY

Pursuant to Local Rule 2002-4 (b) (2), the Court will consider this motion without
further notice or hearing unless a party in interest files an objection within 21 days
from the date this paper is entered on the docket. If you object to the relief
requested in this paper, you must file your Objection with the Clerk of the Court at
135 W. Central Blvd, Suite 950, Orlando, Fl 32801, and serve a copy on the
Movant’s attorney: Antonio Alonso, Esq., 1800 N.W. 49th Street, Suite 120, Ft.
Lauderdale, FL 33309.

If you file and serve an objection within the time permitted, the court will schedule a
hearing and you will be notified. If you do not file an objection within the time
permitted, the court will consider that you do not oppose the granting of the relief
request in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief request.
MOVANT, H&R BLOCK BANK, by and through its undersigned attorney shows the Court:
l. Movant is a secured creditor of the above styled Debtor(s) and brings this Motion pursuant to the
provisions of Section 362(d) of the Bankruptcy Code.
2. The Debtor(s) own(s) certain real property in Orange County, FL described as:
LOTS 24 AN]) 25, LESS THE WEST 26 FEET THEREOF BLOCK
3, CLEAR LAKE VIEWS, ACCORDING TO PLAT RECORDED
[N PLAT BOOK J, PAGE 145, OF THE PUBLIC RECORDS OF
ORANGE, FLORIDA.
A/K/A: 1835 S. RIO GRANDE AVENUE, ORLANDO, FL 32805
3. Debtor(s) own(s) the above real property subject to a promissory note and mortgage securing

same dated June 6, 2006, which note and mortgage are held by Movant. Copies of the loan

documents to Movant are attached hereto. See Exhibit “A” attached.

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4. Debtor(s) is in default upon the subject mortgage for the payment due on December l, 2009 and
Secured Creditor is owed an approximate principal balance of $74,803.47. See Exhibit “B”
attached.

5. According to the Orange County Property appraiser, the market value of the property is
$8,3 52.00. See Exhibit “C” attached.

6. Debtor(s) have evidenced their intention to surrender subject property in their statement of
intention therefore, this case is not necessary to an effective reorganization

7. H&R BLOCK BANK requests that fourteen (14) day stay of the Order granting relief pursuant
to Bankruptcy Rule 4001 (a)(3) be waived so that H&R BLOCK BAl\IK can pursue its in rem
remedies without further delay.

8. H&R BLOCK BANK, seeks the award of bankruptcy fees and cost of $800.00 for the
prosecution of this Motion or that a State Court Judge is permitted to award bankruptcy fees and
cost for the prosecution of this Motion.

9. Movant requests permission to offer the Debtor(s) information regarding a potential Forbearance
Agreement, Loan Modifrcation, Refinance Agreement, or other loan workout/ loss mitigation
Agreement, and may enter into such agreement with Debtor(s) without violating any Discharge
Order. However, Movant may not enforce any personal liability against Debtor(s) if Debtor(s)
personal liability is discharged in this bankruptcy case.

WHEREFORE, Movant, H&R BLOCK BANK, moves this Court to enter its order granting
relief from stay to Movant and that the fourteen (14) days stay of the of the Order Granting Relief
pursuant to Bankruptcy Rule 4001(a)(3) is waived so that, H&R BLOCK BANK, can pursue its in rem
remedies without further delay and award bankruptcy fees and cost of $800.00, or that a state court Judge
is permitted to award bankruptcy fees and costs for the prosecution of this motion, that Movant may offer
and provide Debtor(s) with information re: a potential Forbearance agreement, Loan Modiflcation,
Refrnance Agreement and may enter into such agreement with Debtor(s) without violating any Discharge

Order. However, Movant may not enforce any personal liability against Debtor(s) if Debtor(s) personal

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liability is discharged in this bankruptcy case and granting such other relief as to the Court may deem just

and proper.

I HEREBY CERT]FY that a true and correct copy of the Motion For Relief From Stay and

Affldavit in support of Motion for Relief was delivered to the addressees on the attached mailing list via

U.S. mail and/or electronic mail on this §§ day of fg§§ §i/ , 2010.

Mailing List for Bankruptcy Case No: lO-O3756-KSJ

MARIE E. HENKEL, TRUSTEE
3560 SOUTH MAGNOLIA AVENUE
ORLANDO, FL 32806

U.S. TRUSTEE - ORL7
l35W. CENTRAL BLVD. - SUITE 620
ORLANDO, FL 32801

EARL BRAXTON, JR.
VALERIE A. BRAXTON
929 MOZART DRIVE
ORLANDO, FL 32825

STEPHEN R. CAPLAN, ESQ.

31 N HYLER AVENUE
ORLANDO, FL 32801

10-27874

Law Offrces of Marshall C. Watson, P.A.
1800 N.W. 49“* street suite 120
Fort Lauderdale 33309

 

  

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Loan Number: Servicing Number; Date; 06/06/06

ADJUSTABLE RATE NOTE
(L]BOR lndex - Rate Caps)

THIS NOTE CONTA[NS PROVISIONS ALLOW[NG FOR CHANGES IN MY IN'I'EREST RATE AND MY
MONTHLY PAYMEN'I`. THIS NOTE LIMITS THE AMOUNT MY INTEREST RATE CAN CHANGE AT
ANY ONE TIME AND THE MAXIMUM RATE I MUST PAY.

1835 S RIO GRANDE AVE, ORLANDO, FL 32805-4446
[Property Address]

l. BORROWER' S PROMISE TO PAY
In return for a loan that l have received, l promise to pay U.S. $77, 000 . 00 (this amount
is called "principal"), plus interest, to the order of the Lender. The Lender is
Option One Mortgage Corporation, a California Corporation
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled to
receive payments under this Note 1s called the "Note Holder."

2. IN'I'EREST
lnterest will be charged on unpaid principal until the full amount of principal has been paid. lnterest will be calculated
on the basis of a lZ-month year and a 30- -day month. l will pay interest at a yearly rate of 8. 350% .The interest rate

l will_ pay may change in accordance with Section 4 of this Note.
The interest rate required by this Section 2 and Section 4 of this Note is the rate l will pay both before and after any default
described in Section 7(B) of this Note.

3. PAYMENTS

(A) Ti.me and Place of Payments

I will pay principal and interest by making payments every month.

l will make my monthly payments on the first day of each month beginning on August 01 , 2006
I will make these payments every month until l have paid all of the principal and interest and any other charges described below
that l may owe under this Note. My monthly payments will be applied to interest before principalr If, on,

July 01 , 2036 , l still owe amounts under this Note, l will pay those amounts in full on that
date, which is called the "Maturity Date."
l will make my monthly payments at Option One Mortgage Corporation

P .O. BOX 92103 LOS ANGELES, CA 90009~2103

or at a different place if required by the Note Holder.

(B) Amouot of My Initial Mcnthly Paymeots

Each of my initial monthly payments will be in the amount of U.S. $533 ~ 90 . This amount may change

(C) Monthly Payment Changes

Changes in my monthly payment will reflect changes in the unpaid principal of my loan and in the interest rate that l must
pay. The Note Holder will determine my new interest rate and the changed amount of my monthly payment in accordance with
Section 4 of this Note.

(D) Application of Payments

Payments received by the Note Holder will be applied in the following order1 (i) prepayment charges due under this Note',
(ii) amounts payable under paragraph 2 of the Security Instrument (defined below); (iii) interest due under this Note; (iv) principal
due under this Note', and (v) late charges due under this Note.

4. IN'I'EREST RATE AND MONTHLY PAYMENT CHANGES

(A) Chaoge Dates

The interest rate l will pay may change on the first day of July 01 , 2008 ,
and on that day every sixth month thereafter. Each date on which my interest rate could change is called a "Change Date."

(B) The loch

Beginning with the first Change Date, my interest rate will be based on an lndex. The "Index" is the average of interbank
offered rates for six-month U.S. dollar-denominated deposits in the London market ("LlBOR"), as published in The Wall Slreet
Journal. The most recent lndex figure available as of the first business day of the month immediately preceding the month in which
the Change Date occurs is called the "Current Index."

If the lndex is no longer available, the Note Holder will choose a new index that is based upon comparable information
The Note Holder will give me notice of this choice.

(C) Calculatiou of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding

SIX AND 10/100 percentage point(s)( 6. 100% )
to thc Current lndex. The Note Holder will then round the result of this addition to the next higher one-eighth of one percentage
point (0.125%). Subject to the limits stated in Section 4(D) below, this rounded amount will be my new interest rate until the next
Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the unpaid
principal that l am expected to owe at the Change Date in full on the Maturity Date at my new interest rate in substantially equal
paymentsl The result of this calculation will be the new amount of my monthly payment

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Loan Numbe Servicing Number: Date: 06/ 06/ 06
(D) Limits on Intm'est Rate Changes
The interest rate l am required to pay at the first Change Date will not be greater than ll . 350% or less than
8 . 350% . Thereafter, my interest rate will never be increased or decreased on any single Change Date by more than one
percentage point (1.0%) from the rate of interest I have been paying for the preceding six months ln no event will my interest rate
be greater than 14 . 350% or less than 8 . 350%
(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. l will pay the amount of my new monthly payment
beginning on the first monthly payment date after the Change Date until the amount of my monthly payment changes again.

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the amount of my monthly
payment before the effective date of any change The notice will include information required by law to be given me and also the
title and telephone number of a person who will answer any question l may have regarding the notice.

5. BORROWER' S RIGHT TO PREPAY

I have the right to make payments of principal at any time before they are due, together with accrued interest A payment
of principal only is known as a "prepaymen ." When l make a prepayment, l will tell the Note Holder in writing that I am doing
so.

If I make a partial prepayment, there will be no changes in the due dates of my monthly payments unless the Note Holder
agrees in writing to those changes My partial prepayment may reduce the amount of my monthly payments after the first Change
Date following my partial prepayment However, any reduction due to my partial prepayment may be offset by an interest rate
increase

If within 24 Months from the date of execution of the Security lnstrument l make a full prepayment
or, in certain cases a partial prepayment, l will at the same time pay to the Note Holder a prepayment charge The prepayment
charge will be equal to six (6) months advance interest on the amount of any prepayment that, when added to all other amounts
prepaid during the twelve (12) month period immediately preceding the date of the prepayment, exceeds twenty percent (20%) of
the original principal amount of this Note. In no event will such a charge be made unless it is authorized by state or federal law.

6. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted lirnits, then: (i) any such loan charge shall
be reduced by the amount necessary to reduce the charge to the permitted limit; and (ii) any sums already collected from me which
exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the principal l owe
under this Note or by making a direct payment to me. lf a refund reduces principal, the reduction will be treated as a partial
prepayment

7. BORROWER' S FA]l.URE TO PAY AS REQU]RED

(A) Late Charges for Overdue Payments

lf the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date it is due, l will pay a late charge to the Note Holder. The amount of the charge will be 6 . 000%
of my overdue payment of principal and interest. l will pay this late charge promptly but only once on each late payment.

(B) Default

If I do not pay the full amount of each monthly payment on the date it is due, l will be in default. lf l am in default, the
Note Holder may require me to pay immediately the full amount of principal which has not been paid and all interest that l owe
on that amount, together with any other charges that I owe under this Note or the Security Instrument, except as otherwise required
by applicable law,

(C) No Waiver by Note Holder

Even if, at a time when l am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if l am in default at a later time

(D) Payment of Note Holder' s Costs and Expeoses

lf the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to
be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law, whether
or not a lawsuit is filed. Those expenses include, for example, reasonable attomeys' fees.

8. GIV[NG OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if l give the Note
Holder a notice of my different address

Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mail to the Note
Holder at the address stated in Section 3(A) above or at a different address if l am given a notice of that different address

9. OBLIGATIONS OF PERSONS U'N`DER THIS NOTE

lf more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made
in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note
is also obligated to do these things Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to pay
all of the amounts owed under this Note.

Pnge 2 or 3 rLNTeozz.wp(o4-o7-os)
2 06/17/2010

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Loan Number: Servicing Numl Date: 06/ 06/ 06

10. WAIVERS

I and any other person who has obligations under this Note waive the rights of presentment and notice of dishonori
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of dishonor" means the right
to require the Note Holder to give notice to other persons that amounts due have not been paid.

ll. SECURED NOTE

In addition to the protections given to the Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed '(the
"Security Instrument"), dated the same date as this Note, protects the Note Holder from possible losses which might result if I do
not keep the promises that I make in this Note. That Security lnstrument describes how and under what conditionsl may be required
to make immediate payment in full of all amounts I owe under this Note. Some of those conditions are described as follows:

Transfer of the Property or a Beoet'tcial Interest in Borrower. If all or any part of the Property or any interest in it is sold
or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a natural person) without Lender‘ s
prior written consent, Lender may, at its option, require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date of this Security
Instrument. Lender also shall not exercise this option if: (a) Borrower causes to be submitted to Lender information required by
Lender to evaluate the intended transferee as if a new loan were being made to the transferee; and (b) Lender reasonably determines
that Lender's security will not be impaired by the loan assumption and that the risk of a breach of any covenant or agreement in
this` Security Instrument is acceptable to Lender.

To the extent pemiitted by applicable law, Lender may charge a reasonable fee as a condition to Lender‘ s consent to the
loan assumption Lender may also require the transferee to sign an assumption agreement that is acceptable to Lender and that
obligates the transferee to keep all the promises and agreements made in the Note and in this Security Instrument. Borrower will
continue to be obligated under the Note and this Security Instrumth unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of acceleration
The notice shall provide a period of not less than 30 days from the date the notice is delivered or mailed within which Borrower
must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.

12. DOCUMENTARY TAX
The state documentary tax due on this Note has been paid on the Mortgage securing this indebtedness

 

 

 

 

 

 

WITNESS THE HAND . SEAL(S) OF THE UNDERSIGNED.
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[Sign Original Only]

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3 06/17/2010

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Loan Number: ;_ Servicing Numbe Date: 0 6 / 06 / 06

ALLONGE TO NOTE
(INVESTOR)

This allonge makes reference to the following Note:

Borrowers: EARL BRAXTON

Loan #: " - “

Property Adorcss: 1835 S RIO GR.ANDE AVE, ORLANDO, FL 32805-4446
LoanAmount: $77,000.00

Note Date: 06/06/06

Therefore, in reference to the captioned note, the following applies:

Pay to the order of:

 

  

Without Recourse

Option One Mortgage Coxporat.ion
A California Corporation

.l/

/"
By: /\-»-r{&~’~_
Z aima Br 0
Assistant Secretary

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SL(: UH|VY IN$TPUMENT

 

 

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'l`l-IIS MORTG/\GE ("Security lnstrunienl") is given cm June 06,_ 2006 .The mortgagor is
EARL BRAXTON, A MARRIIEID MAN I\S HIS SOLE AND SEPERATE PROPERTY

\»\'hOS€ nd(lr€§§`i$ 1835 S RIO GRANDE AVE , ORLIXNDO, FL 32805-4446 ¥
(" Bori‘r)wer" ).

'I`his Security lnstrument is given to
Opt;ion One Mortgage Corporation, a California Corporation

which is Organized and existing under the laws OF CALI}:"ORNIA ` , and whose address iS
3 Ada, Irvine, CA 92618 ("l,ender"),
Borrower Owes Lender the principal sum 01` SE.VENTY SEVEN THO.USAND

. . .AND NO/lOOTHS _ DOllal"S (_U.b .,$77 OOO. OO j

'I`his debt is evidenced by Borrower s note dated the same date as this Security ln$trument ("Note") which provides
for montiin pavments, with thc lull debt, if not paid earlier, due and payable on July Ol, 2036

This Security lnstrument secures to Lender: (a) the repayment of the debt evidenced by the Note with interest and
all renew als, extensions and modifications of the Note; (b) the payment of all other Sums, With interest, advanced
under paragraph 7 to protect the security of this Security lnstrumcnt; and (c) the performance of Bori'c)wer's
covenants and agreements under this Security Instrtlment and the Note. Fc)r this purpose, Borrower does hereby
mortgage, grant and convey to Lender the following described property located in Orange

County, Florida:

03~23-29-1402-03-240

LOTS 24 AND 25, LESS THE WEST 26 F`EET THEREOF BLOCK 3, CLEAR LAKE VIEWS,
ACCORDING TO PLAT RECORDED IN PLAT BOOK J_, PAGE 145, OE` THE PUBLIC RECORDS OF
ORANGE, FLORIDA

which has the address of 1835 S RIO GRANDE AVE, ORLANDO
{Strcel, Ciry],
Florida 32805-41} 46 ("Prr)pcrty Address"); __
[Zip Code]

TOGETHER WlTl-l all the improvements now Or hereafter erected on the property, and all easements,
appurtenances and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property. ’

BORROWER COVEN/\NTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to mortgage, grnnl and convey th`e Property and that the Property is uncncumbered, except for encumbrances
ot` rccord. Borrower warrants and will defend generally the title to thc Property against all claims and dcmands,
subject to any encumbrances of record

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COV`ENANTS. Borrower and Lender covenant and agree as follows

l_ Payrnent of Principal and lnterest; Prepayrnent and Late Chargcs_ Borrower shall promptly pay when
due the prin_cipal of and interest on the debt evidenced hy the Note and any prepayment and late charges due under
the Note.

2. Funds for Taxw and lnsurance_ Subject to applicable law 0r to a written waiver by Lender, Borrower
shall pay to Lender on the day monthly payments are due under the Note, until the Note is paid in full, a sum
("I~`unds") for; (a) yearly taxes
and assessments which may attain priority over this Security lnstrument as a lien on the Property; (b) yearly
leasehold payments or ground rents on the Property_ if ariy', (c) yearly hazard or property insurance premiunis', (d)
yearly-flood insurance premiurns, if any; (e) yearly mortgage insurance premiums, if any; and (i) any sums payable
by Borrower to Lender, in accordance With the provisions of paragraph 8, in lieu of the payment ol` mortgage
insurance premiums Thesc items areealled "Escrow ltems." Lender may, at any time, collect and hold Funds in
an amount not to exceed the maximum amount a lender for a federally related mortgage loan may require for
Borrower' s escrow account under the federal Rea] Estate Settlement Procedures Act of l974 as amended from time
to timc, 12 U.S.C. § 2601 et seq. ("RESPA"), unless another law that applies to thc Funds sets a lesser amount
If so, Lender may, at any time, collect and hold Funds in an amount not to exceed the lesser amount Lender may
estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future
Escro\v ltems or otherwise in accordance with applicable law. _

The I~`unds shall be held in on institution whose deposits are insured by a federal agency, instrumentality,
or entity (including Lender, if Lender is such an institution_) or in any l"cdcrttl Home Loan Bank. Lender shall apply
the Funds to pay the Escrow Items. Lender may not Chargc Borrower for holding and applying the Funds, annually
analyzing the escrow aceount, or verifying the l-_`-,serow Items, unless Lender p'ays Borrower interest on the Funds
and applicable law permits Lend_er to make such a charges However, Le?ider may require Borrower to pay a
one-time charge for an independent real estate tax reporting service used by bender in connection with this loan,
unless applicable law provides otherwise Unless an agreement is made or applicable law requires interest to be
paid, Lender shall not be required to pay Borrower any interest or earnings on the Funds_ Borrower and Lender
may agree in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, Without
charge, an annual accounting of the Funds, showing credits and debits to the Funds and the purpose for which each
debit to the Funds was made. The lTunds are pledged as additional security for all sums secured by this Security
Instrument. _
lf the Funds held by Lender exceed the amounts permitted to be held by applicable law, Lender shall

account to Borrower for the excess Funds in accordance with the requirements of applicable law. lf the amount of
the Funds held by Lender at any time is not sufficient to pay the Escrow ltems when du_e, Lender may so notify
Borrower in Writing, and, in such case Borrower shall pay to Lender the amount necessary to make up the
deficiency, Borrower shall make up the deficiency in no more than twelve monthly payments, at Lender‘$ Sole
discretion

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender. lf, under paragraph 2]-, bender shall acquire or sell the Property, l,.ender,
prior to the acquisition or sale of the Property, shall apply any l"unds held by Lender at the time of acquisition or
sale as a credit against the Sums secured by this Security lnst_r'ument.

3. Application of Paytncnts. Unless applicable law provides otherwise, all payments received by Lender
under paragraphs l and 2 shall be npplicd: first, to any prepayment charges due under the Notc; second, to amounts
payable under paragraph 2; third, to interest due; fourth, to principal due', and last, to any.late charges due under
the Note. '

4. Chargw; Liens_ Borrower shall pay all taxes, assessments, charges, fines and impositions attributable
to the Property which may attain priority over this Security lnstrument, and leasehold payments or ground renls,

_if any. Borrower shall pay these obligations in the manner provided in paragraph 2, or if not paid in that manner,
Borrower shall pay them on time directly to the person owed payment Borrower shall promptly furnish to Lender
all notices of amounts to be paid under this paragraph If Borrower makes these payments directly, Borrower shall
promptly furnish to Lender receipts evidencing the payments

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender; (b) contests in good faith the lien by, or defends against enforcement of th'e lien in, legal proceedings which
in the Lender’s opinion operate to prevent the enforcement of the lien', or (c) secures from the holder of the lien
an agreement satisfactory to Lender subordinating the lien to this Security lnstrument. If Lender determines that any
part of the Property is Subjcct to a lien which may attain priority over this Security lnstrument, Lender may give
Borrower a notice identifying the lien. Borrower shall satisfy the lien or take one or more of the actions set forth
above within lO days of the giving of notice

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Loan Number: Sczw'icin-g l\'umbci Date 06/06/0€

5. Ha:!,ard or Property lnsurancc_ Borrower shall keep the impro‘.'ements now existing or hereafter erected
on the Property insured against loss by t`ire, hazards included within the term "'extended coverage" and any other
hazards, including floods Or flowing for which Lender requires insurance 'fhis insurance shall be maintained in
the amounts and for the periods that Lender requires The insurance carrier providing the insurance shall he chosen
by Borrower subject to Lendcr's approval which shall not be unreasonably withheld lf Borrower fails to maintain
coverage described above, Lender may, at l..erider's option, obtain coverage to protect l-cnder's rights in the
Property in accordance with paragraph 7.

All insurance policies and renewals shall be acceptable to Lender and shall include a standard mortgage
clause Lender shall have the right to hold the policies and renewals lf Lender requires, Borrower shall promptly
give to Lender all rcceipts_of paid premiums and renewal notices ln the event of loss, Borrower shall give prompt
notice to the insurance carrier and Lender. Lender may make proof of loss if not made promptly by Borrower.

Unless Lender and Borrower otherwise agree in_writing, or applicable Law otherwise requires insurance
proceeds shall be applied first to reimburse l,ender for costs and expenses incurred in connection with obtaining any
such insurance proceeds, and then, at Lender's option, in such order and proportion as Lender may determine in
its sole and absolute discretion, and regardless of any impairment of security or lack thereof: (i) to the sums secured
by this Security lnstrument, whether or not then due, and to such components thereof as Lender may determine in
its sole and absolute discreticn', and/or (ii) to Borrower to pay the costs and expenses of necessary repairs or
restoration of the Property to a condition satisfactory to Lender. lf Borrower abandons the
Property, or does not answer within 30 days a notice from Lender that the insurance carrier has offered to settTe
a claim, Lender may collect the insurance proceeds l,endcr may, in its sole and absolute discretion, and regardless
of any impairment of security or lack thereof, usc the proceeds to repair or restore the Property or to pay the sums
secured by this Security Instrument, whether or not then duc. The 30-day period will begin when the‘notic€ is given.

Unless Lender and Borrower otherwise agree_ in \vriting, any application of proceeds to'principal shall not
extend oi~postpone the due date of the monthly payments referred to in paragraphs l and 2 or change the amount
of the payments lf under paragraph 21 the Property is acquired by Lender, Borrower‘s right to any insurance
policies and proceeds resulting from damage to the Property prior to the acquisition shall pass to Lender to the
extent of the sums secured by this Security Instrument immediately prior to the acquisition

If Borrower obtains earthquake insurance, any other hazard insurancc, or any other insurance on the
Property and such insurance is not specifically required by Lender, then such insurance shall (i) name Lender as
loss payee thereunder, and (ii) be subject to the provisions of this paragraph 5. _

6. Oocupancy, Prescrvation, Maintcmmoe and Protection of the Propcrly; Borrowc:r's Loan Applicntion;
Leaseholds. Borrower acknowledges that the Lender does not desire to make a loan to Borrower secured by this
property on the terms contained in the Note unless the property is to be occupied by Borrower as Borro\i/er's
primary/secondary residence Lender makes non-owner residence loans of different terms, Borrower promises and
assures Lender that Borrower intends to-occupy this property as Borrower'.s primary/secondary residence and that
Borrower will so occupy this property as its sole primary/secondary residence within sixty (60) days after the date
of the Security Instrument. If Borrower breaches this promise to occupy the property as Borro\ver's
primary/secondary residence, then Lender may invoke any of the following remedies, in addition to the remedies
provided in the Security lnstrument; (l) Declare all sums secured by the Security lnstmment due and payable and
foreclose the Security lnstrument, (2) Decrease the term of the loan and adjust the monthly payments under the Note
accordingly, increase the interest rate and adjust the monthly payments under the Note accordingly, or (3) require
that the principal balance be reduced to a percentage of either the original purchase price or the appraised value then
being offered on non-owner occupied loans

Borrower shall not destroy, damage or impair thc Property, allow the Property to deterioratc, or commit
waste on the Property, Borrower shall be in default if any forfeiture action or proceeding, whether civil or criminal,
is begun that in l.ender's good faith judgment could result in forfeiture of the Property or otherwise materially
impair the lien created by this Security Instrument or Lender's security interest. Borrower may cure such a default
and reinstate, as provided in paragraph 18, by causing the action or proceeding to be dismissed with a ruling that,
in Lender's good faith determination, precludes forfeiture of the Borrower’ s interest in the Property or other
material impairment of the lien created by this Security Instrument Or Lcndcr' S security interest. Borrower Shall also
be in default if Borrower, during the loan application process, gave materially false or inaccurate information or
Statements to Lender (or failed to provide Lender with any material information) in connection with the loan
evidenced by the Note, including, but not limited to, representations concerning Borrower‘s occupancy of the
Property as a principal residence If` this Security lnstrument is on a leasehold, Borrower shall comply with all the
provisions of thc leasc. lfBorrower acquires fee title to the Property, the leasehold and the fec title shall not merge
unless Lender agrees to the merger in writing

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Borrower sliall, at Borrower' s own expense, appear in and defend any action or proceeding purporting to
affect the Property or any portion thereof or Borrower's title thereto, thc validity or priority of the lien created by
this Security lnstrument, or the rights or powers of l_,en_d"er with respect to this Security Instrument or the Propertj»'.
All causes of action of Borrower, whether accrued before or after the date of this Security lnstrument, for damage
or injury to the Property or any part thereof, or in connection with any transaction financed in whole or in part by
the proceeds of the Note or any other note secured by this Security lnstrumcnt, by Lender, or in connection with
Or affecting the Property or any part thereof, including causes of action arising in tort or contract and causes of
action for fraud or concealment of a material fact, are, at Lender's option, assigned to l.enderv and the proceeds
thereof shall be paid directly to Lender who, after deducting therefrom all its expenses, including reasonable
attorneys' fees, may apply such proceeds to the sums secured by this Security instrument or to any deficiency under
this Security Instrument or may release any monies so received by it or any part thereof, as Lender may elect.
Lender may, at its option, appear in and prosecute in its own name any action_or proceeding to enforce any such
cause of action and may make any compromise or settlement thereof Borrower agrees to execute such further
assignments and any other instruments as from time to time may be necessary to effectuate the foregoing provisions
and as Lender shall request.

7. Protection ofLender's Rights in the Property. If Borrower fails to perform the covenants and agreements
contained in this Security lnstrument, or there is a legal proceeding that may significantly affect l,ender's rights in
the Property (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture or to enforce laws or
regulations), then Lender may do and pay for whatever is necessary to protect the value of the Property and
Lender's rights in the Property. Lender's actions may include paying any sums secured by a lien which has priority
over this Security Instrument, appearing in court, paying reasonable attorneys fees and entering on the Property
to make repairs Although Lender may take action under this paragraph 7, Lender does not have to do so.

Any amounts disbursed by Lender under this paragraph 7 shall become additional debt of Borrower secured
by this Security Instrument. Unless Borrower and Lender agree to other terms of payment, these amounts shall bear
interest from the date of disbursement at the Note rate in effect from time to time and shall be payablc, with
interest, upon notice from Lender to Borrower requesting payment

8. Mortgage Insuranoc. If Lender required mortgage insurance as a condition of making the loan secured
by this Security Instrument, Borrower shall pay the premiums required to maintain the mortgage insurance in effect
If`, for any reason, the mortgage insurance coverage required by Lender lapses or ceases to be in effect, Borrower
shall pay the premiums required to obtain coverage substantially equivalent to the mortgage insurance previously
in effect, at a cost substantially equivalent to the cost to Borrower of the mortgage insurance previously in effect,
from nn alternate mortgage insurer approved by Lender. lf substantially equivalent mortgage insurance coverage
is not available, Borrower shall pay to Lender each month a sum equal to one-twelfth°of the yearly mortgage
insurance premium being paid by Borrower when the insurance coverage lapsed or ceased to be in effect Lender
\villaceept, use and retain these payments as a loss reserve in lieu of mortgage insurance Loss reserve payments
may no longer be required, at the Option of Lender, if mortgage insurance coverage (in the amount and for the
period that Lender requires) provided
by an insurer approved by Lender again becomes available and is obtained Borrower shall pay the _premiurns
required to maintain mortgage insurance in effect, or to provide a loss reservc, until the requirement for mortgage
insurance ends in accordance With any written agreement between Borrower and Lender or applicable law.

9. 'Inspection_ Lender or its agent may make reasonable entries upon and inspections of the Propert_v.
Lender shall give Borrower notice at the time of or prior to nn inspection specifying reasonable cause for the
inspection.

lO. Condcmnation. The proceeds ofany award or claim for damages, direct or consequential, in connection
with any condemnation or other taking of any part Of the Property, or for conveyance in lieu of condemnation, are
hereby assigned and shall be paid to Lender. Lender may apply, use or release the condemnation proceeds in the
same manner as provided in paragraph S_hereof with respect to insurance proceeds

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower thnt the condemnor
Offers to make an award or settle a claim for daxnages, Borrower fails to respond to Lender within 3() days after
the date the notice is given, Lender is authorized to collect and apply the proceeds, at its option, either to restoration
or repair of the Property or to the sums secured by this Security" Instrument, whether or not then due.

Unless Lender and Borrower otherwise agree in writing, any application of proceeds to principal shall not
extend or postpone the due date of the monthly payments referred to in paragraphs l and 2 or change the amount
of such payments

l l. Borrower Not Released; Forbearance By Lender Not a Waivcr. E.\'tension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by l-ender to any successor
in interest of Borrower shall not operate to release the liability of the original Borrower or Borrower‘s successors
in interest. Lender shall not be required to commence proceedings against any successor in interest or refuse to

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extend time for payment or otherwise modify amortization of the sums sccurcd by this Security instrument by reason
of any demand made by the original Borrower or Borrower's successors in interest. Any forbearance by Lench
in exercising any right or remedy shall not be a waiver of or preclude the-exercise of any right or remedy.

12_ Suooessors and Assigns Bound; _loint and Several Liability; Co-signers_ 'l'he covenants and agreements
of this Security Instrument shall bind and benefit the successors and assigns of Lender and Borrowcr, subject to the
provisions of paragraph 174 Borrower's covenants and agreements shall be joint and several. Any Borrower who
co-signs this Security Instrument but does not execute the Note: (a) is co-signing this Security Instrument only to
mortgage, grant and convey that Borrower's interest in the Property under thc terms of this Security lnstrument;
(b) is not personally obligated to pay the sums secured by this Security lnstrument; and (c) agrees that Lender and
any other Borrower may agree to extend, modify, forbear or make any accommodations with regard to the terms
of this Security Instrument or thc Note without that Borrower's consent_

13. Loan Charges. If the loan secured by this Security Instrument is subject to a law which_scts maximum
loan charges, and that law is finally interpreted so that the interest or other loan charges collected or to be collected
in connection with the loan exceed the permitted limits__ then; (a) any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from Borrower
which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing
the principal owed under the Note or by making a direct payment to Borrower. lf a refund reduces principal, thc
reduction will be treated as a partial prepayment without any prepayment charge under the Note.

14. Notiocs. Any notice to Borrower provided for in this Security Instrument shall be given by delivering
it or by mailing it by first class mail unless applicable law requires use of another method_ 'l`he notice shall be
directed to the Propeny Address or any other address Borrower designates by notice to Lender, Any notice to
Lender shall be given by first class mail to Lender's address stated herein or any other address Lender designates
by notice to Borrower. Any notice provided for in this Security Instrument shall be deemed to h_ave been given to
Borrower or Lender when given as provided in this-paragraph _

15. Governing I-aw‘, Severability. This Security Instrument shall be governed by federal law and the law
of the jurisdiction in which the Property is located ln the event that any provision or clause of this Security
Instrument or the Note conflicts with applicable law, such conflict shall not affect other provisions of this»Security
Instrument or the Note which can be given effect without the conflicting provision 'l`o this end the provisions of
this Security -I-nstrument and the Note are declared to be severable,

16. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security
Instrument.

l7. Transfer of the Property or a Beneficial lntercst in Borrower. lf all or any part of the Property or any
interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is`not
a natural person) without Lender‘ S prior written consent, Lender may, at its option, require immediate payment in
full of all sums secured by this Security Instrument. However, this option shall .not be exercised by Lender if
exercise is prohibited _by federal law as of the date of this Security Instrument.

ll` Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide
a period of not less than 30 days from the date the notice is delivered or mailed within which Borrower must pay
all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
on Borrower.

18. Borrowc'r's Right to Rcins!atc. Il` Borrower meets certain conditions, Borrower shall have the right to
have enforcement of this Security Instrument discontinued at any time prior to the earlier of: (a) 5 days (or such
other period as applicable law may specify for reinstatement) before sale of the Property pursuant to any power of
sale contained in this Security Instrument; or (b) entry of a judgment enforcing this Security lnstrument. 'l`hose
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and
the Note as if no acceleration had occurrcd; (b) cures any default of any other covenants or agreements; (c) pays
all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys fees;
and (d) takes such action as Lender may reasonably require to assure that the lien of this Security lnstrument,
Lender‘ s rights in the Property and Borrower' s Obligation to pay the sums secured by this Security Instrument shall
continue unchanged Upon reinstatement by Borrower, this Security Instrument and the obligations secured hereby
shall remain fully effective as if no acceleration had occun'ed_ However, this right to reinstate shall not apply in
the case of acceleration under paragraph 17.

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Datc: 06/06/06

Loan Number Ser\’icing Numl')
19. Sa]c of Note; Change of Loan Servicer_ 'l`he Note or a partial interest in the Note (togcther with this

Security lnstrument) may be sold one or more times without prior notice to Borrower. A sale may result in a
change in the entity (known as the "L,oan Servicer") that collects monthly payments due under tlT Note and this
Security Instrument. `l'here also may be one or more changes of the Loan Servicer unrelated to a sale of the Note.
lf` there is a change of the Loan Servicer, Borrower will be given written notice of the change in accordance with
paragraph 14 above and applicable law. The notice will state the name and address of the new Loan Servicer and
the address to which payments should be made_ The notice will also contain any other information required by
applicable law. 'l`hc holder of the Note and this Security Instrument shall be deemed to be the Lender hereunder

20. I-lazardous Substanoes. Borrower shall not cause or permit the presence, use, disposal, storage, or
release of any l-lazardous Substances on or in the Property. Borrower shall not do, nor allo_w anyone else to do,
anything affecting the Property that is in violation of any Environmental Law. The preceding two sentences shall
not apply to the presence, use, or storage on the Property of small quantities of l-lazardous Substances that are
generally recognized to be appropriate to normal residential uses and to maintenance of the Property.

Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous
Substance or Environmental Law of which Borrower has actual knowledge lf Borrower learns, or is notified by
any governmental or regulatory authority, that any removal or other remediation of any Hazardous Substance
affecting the Property is necessary, Borrower shall promptly take_all necessary remedial actions in accordance with
Environmental Law.

Borrower shall be solely responsible for, shall indemnify, defend and hold harmless Lender, its directors,
officers, emplo_vees, attorneys, agents, and their respective successors and assigns, from and against any and all
claims, demands, causes of action, loss, damage, cost (including actual attorneys' fees and court costs and costs of`
any required or necessary repair, cleanup or detoxification of the Property and the preparation and implementation
of any closure, abatement, eontainment, remedial or other required plan), expenses and liability directly or indirectly
arising out of or attributable to (a) the use, generation, storage, release, threatened release, discharge, disposal,
abatement or presence ot` Hazardous Substnnccs on, under or about the Property, (b) the transport to or from the
Property of any Haizardous Substances, (e) the violation of any Hazardous Substances law, and (d) any l-lazardous
Substances claims

As used in this paragraph 29,- "Hazardous Substances" are those substances defined as toxic or hazardous
substances by Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic
petroleum products, toxic pesticides and herbicidcs, volatile solvents, materials containing asbestos or formaldehyde,
and radioactive materials As used in this paragraph 20, "Environmental l_.aw" means federal laws and laws of the
jurisdiction where the Property is located that relate to health, safety or environmental protection

ADDITI_ONAL COVENANTS. Borrower and Lender further covenant and agree as follows:

2]t Aoceleration; Remcdi&& If any installment under the Note or notes secured hereby is not paid when
due, or ifBorrower should be in default under any provision of this Secun'ty Instrument, or ifBorrower is in default
under any other mortgage or other instrument secured by the Property, all sums secured by this Security Instrument
and accrued interest thereon shall at once become due and payable at the option of Lender without prior noticc,
except as otherwise required by applicable law, and regardless of any prior forbearance ln such cvcnt, Lender, at
its option, and subject to applicable law, may then or thereafter invoke the power of sale and/or any other remedies
or take any other actions penm'tted by applicable law, Lender will collect all expenses incurred in pursuing the
remedies described in this Paragraph 21, including, but not lixnitod to, reasonable attomcys' fees and costs of t_itle
evidence

22. Release.Upon payment of all sums secured by this Security Instrument, Lender shall release this
property without warranty to thc person or persons legally entitled to it. Such person or persons shall pay any
recordation costs. Lender may charge such person or persons a fee for releasing the Property for services rendered
if the charging of the fee is permitted under applicable law_ _

23. Attomeys' Fees. 7-\s used in this Security instrument and the Note, "attorneys' fees" shall include any
attorneys‘ fees awarded by an appellate court.

24_ Misrepresentation and Nondisclosure. Borrower has made certain written representations and disclosures
in order to induce Lender to make the loan evidenced by the Note or notes which this Security Instrument secures,
and in the event that Borrower has made any material misrepresentation or failed to disclose any material t`act,
Lender, at its option and without prior notice or demand, shall have the right to declare the indebtedness secured
by this Security lnstrummt, irrespective of the maturity date specified in the Note or notes secured by this Security

lnstrument, immediately due and payable
25_ 'l`ime is of the Essence. 'I`ime is ol` the essence in the performance of each provision of this Security

Instrun'tent.

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26_ Waiver of Starutc ofLimitations. The pleading of the statute of limitations as a defense to enforcement
of this Security lnstrument, or any and all obligations referred to herein or secured hereby, is hereby waived to the
fullest extent permitted by applicable law. ‘

27_ Modifieation. This Security Instrument may be modified or amended only by an agreement in writing
signed by Borrower and Lender.

28_ Reimbursement. To the extent permitted by applicable law, Borrower shall reimburse Trustce and
l,cnder for any and alleosts, fees a_nd expenses which either may incur, expend or sustain in the execution of thc
trust created hereunder or in the performance of any act required or permitted hereunder or by law or in equity or
otherwise arising out of Or in connection with

this Security lnstrument, the Note, any other note secured by this Security Instrument or any other instrument
executed by Borrower in connection with the Note or Security Instrument. 'I`o the extent permitted by applicable
law, Borrower shall pay to Trustce and Lender their fees in connection with Trustce and Lender including, but not
limited to assumption application fecs', fees for payoff demands and, statements of loan balance; fees for making,
transmitting and transporting copies of loan documents verifications, full or partial lien releases and other
documents requested by borrower or necessary for performance of Lender's rights or duties under this Security
lnstrument', fees arising from a returned or dishonored check', fees to determine whether the Property is occupicd,
protectcd, maintained Or insured or related purposes; appraisal fees, inspection fees, legal fees, broker fccs,
insurance mid~term substitutions, repair expenscs, foreclosure fees and costs arising from foreclosure of the Property
and protection of the security for this Security lnstrument', and all other fees and costs of a similar nature not
otherwise prohibited by ]aw_

Security Instrument or any other instrument executed by Borrower in connection with the Note or Security
Instrument. To the extent pemiitted by applicable law, Borrower shall pay to Lender their fees in connection with
l_,ender providing documents or services arising out of or in connection with this Security lnstrument; the Note, an}'_
other note secured by this Security Instrument or any other instrument executed by Borrower in connection with
the Note or Security Instrument.

29_ Clcrical Error. In the event Lender at any time discovers that the Note, any other note secured by this
Security lnstrument, the Security Instrument, or any other document or instrument executed in connection with the
Security lnstrument, Note or notes contains an error that_was caused by a clerical mistake, calculation error,
computer malfunction, printing error or similar error, Borrower agrees, upon notice from Lender, to rec.\'ecute any
documents that arc necessary to correct any such error(s). Borrower further agrees that Lender will not be liable
to Borrower for any damages incurred by Borrower that are directly or indirectly caused by any such error.

30v Lost Stolen, Destroyed or Mutilated Security Instrument and Other Documcnts. In the event of the loss,
theft or destruction of the Note, any other note secured by this Security Instrument, the Security Instrument or any
other documents or instruments executed in connection with the Security Instrument, Note or notes (collective|y,
the "Loan Documents"), upon Borrower`s receipt of an indemnification executed in favor of Borrower by Lend€r,
01', in the event of the mutilation of any of the Loan Documents, upon Lender‘s surrender to Borrower of the
mutilated Loan Docuinent, Borrower shall execute and deliver to Lender a Loan Document in form and content
identical to, and to serve as a replacement of, the lost, stolen, destroyed, or mutilated Loan document, and such
replacement shall have the same force and effect as the lost, stolen, destroyed, or mutilated Loan Documents, and
may be treated for all purposes as the original copy of such Loan Document,

3l, A$ignmcnl of chts. As additional security hereunder, Borrower hereby assigns to Lender the rents
of the Pioperty Borrower shall have the right to collect and retain the rents of the Property as they become due
and payable provided Lender has not exercised its rights to require immediate payment in full of the sums secured
by this Security instrument and Borrower has not abandoned the Property.

32. Ridcrs to this Security Instrument If one or more riders are executed by Borrower and recorded
together with this Security Instrument, the covenants and agreements of each such rider shall be incorporated into
and shall amend and supplement the covenants and-agreements of this Security Instrument as if the rider(s) were
a part of this Security Instrument.

[Chccl< applicable bo):(es)]
Adjustab]e Rate Rider l:l Condominium Rider l-4 Family Rider

l:l Manuf`actured l-lome Rider ij P|anned Unit Developmcnt Rider l:l Oceupancy Rider
ij Other(s) (specify) _

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BY Sl(` JNING B1. l ()\V Borrower accepts and agrees 10 thc terms and covenants contained 111 this Security
Instrument and in any ridcx(s) c): cculed by Bonower and recorded with it
Signer§, sealed and delivered 111 thc presence Of`:

 

 

 

     

 

 

 

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S'l`ATF. OF FLORIDA1 County ssc
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PH_- (208)528-_98_95 Hartha 0. qunie, Comptroller
ATT.» KARLEEN MAUGHAN oransa¢ C°unfv FL

HB - Ret To: §ECURITY CONNECTIONS INC

 

ASSIGNMENT OF MOR'I'GAGE l!||IMEHHMAW'HWWWII|H

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located at 7595 IRVINE CENTE'R DRIVE, SUITE lUU, IRVINE, CA 92618 ,
"Assignor, " in consideration of the sum of TEN DOLLARS ( $10. 00) and other good
and valuable consideration paid bgV H & R BLOCK BANK N.A.

 

 

located at ONE H & R BLOCK WAY, STH FL@R, KANSAS CITY, MO 64105
"Assignee", does hereby grant, bargain, sell, assign, transfer and set Over unto Assignee
a certain indenture of mortgage bearing the date of JUNE 6, 2006
made by EARL BRAXTON, A MARRIED MAN AS HIS SOLE AND SEPERATE PROPERTY
and recorded in

 

Book 08684 , Page 3106 , Clerk's File #20060373593 public records
of ORANGE County, Florida, upon the following described property:

AS DESCRIBED ON SAID MORTGAGE REFERRED TO HEREIN.

"IOGE.'IHE‘.R WI'I'H the note(s) and documents therein described or referred to, the money due

and to become due, with interest, and/ all rights accrued or to accrue under said Mortgage.
'IO HAVE AND 'IO HOLD the same unto. the said Assignee, -its successors and assigns forever.
D\J WI'INESS WHER`EXJF the said Assignor has caused these presents to be executed in its

name by its proper officers thereunto duly authorized this 25th day of
MARCH 2010 , but effective JUNE 6, 2006 ,-

 

"" SAAD@NYUJCRH§RAH(NFKAOHTQVCIELIRIGAG?CCRR]?AHGV

BY: ')/)/RQQ/t/,\MF’N§

MELISSA HIVELY
V£CE PRES IDENT

sims or IDAHO

 

` ~\ ) ss
couer OF BONNEVI`LLE )
On MARCH 25, 2010 , before me, the undersigned, personally appeared
MELISSA HIVELY " " who is known to me to be the person who executed

 

the within instrument as the VICE PRESIDENT
of the Corporation that executed the within

instrument and acknowledged to me that the Corporation executed the_ within instru-
ment pursuant to its'by-laws or a resolution of its board of directors.

 

WI'INESS my hand and official seal.

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLAND() DIVISION

CASE NO.: 10-03756-KSJ
CHAPTER 7 CASE
IN RE:

EARL BRAXTON, JR
VALERIE A BRAXTON
Aka VALERIE PERKINS-BRAXTON

Debtors.

 

STATE OF FLORIDA
COUN'IY OF ORANGE

AFFIDAVIT IN SUPPORT OF
MOTION FOR RELIEF FROM STAY

BEFORE ME, the undersigned authority, on this day g personally appeared KIMBERLY N.
WRIGHT on behalf of H&R BLOCK BANK, who is over the age of eighteen years, is fully qualified
and authorized to give this Affldavit and has personal knowledge of the matters addressed herein. After
being by me duly sworn on her/his oath deposed and stated:

l. My name KIMBERLY N. WRIGHT. I am a Bankruptcy Specialist for BAC HOME LOANS
SERVICING, L.P. F/K/A COUNTRYWIDE HOME LOANS SERVICING, L.P. AS
SERVICE AGENT FOR H&R BLOCK BANK, with regards to this loan with H&R BLOCK
BANK, In the course of my employment l have become familiar with the manner and method in
which H&R BLOCK BANK, maintains its books and records in its regular course of business
Those books and records are managed by employees and agents whose duty is to keep the books
and records accurately and completely and to record each`event or item at or near the time of the
event or item so noted.

2. H&R BLOCK BANK had to retain Counsel to represent it before this Court and is incurring
legal expenses and attorneys’ fees of at least $800.00 for handling the Motion for Relief from

Stay for which it is entitled to reimbursement under the terms of the Note.

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3. I have reviewed the books and records which reveal that H&R BLOCK BANK is the owner and
holder of a real estate Note (“Note”) which is secured by a Deed of Trust of even date executed
by EARL BRAXTON on or about June 6, 2006.»

4. As of the date Movant’s Motion was filed, the principal balance owed by Debtor(s) to H&R
BLOCK BANK was $74,803.47, plus advances made, attorneys’ feel and costs, and interest
accruing thereon in accordance with the loan documents. .

5. The borrower(s), EARL BRAXTON, have defaulted in payments due to Secured Creditor by
failing to make the contractual payment due on December l, 2009 and all subsequent payments \

6. The foregoing facts are of my own personal knowledge and belief, and if called upon to appear as
a witness, I could, and would, testify completely thereto. l declare under penalty of perjury that to

the best of my knowledge, the foregoing facts are true and correct.

watt/tr »

Affiant: Abigail Gardner

JURAT
State of FLORIDA
County of ORANGE
Subscribed and sworn to (or affirmed) before me on this /d day of w . , 2010, by

KIlVlBERLY N. WRIGHT provided to me on the basis of satisfactory evidence to be the person(s) who
appeared before me.

Signature %Z ;QU¢M¢/

W m
MAR|ELA PANrALEO
` Nmary public
STATE QF TEXAS
MY Comm. Exp. 03-08-14

 

 

      
    

 

  

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Parcel Report for 292303140203240 on Tax Year 2040-

 

 

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Parcel Report for 292303140203240 on Tax Year 2010 ~ _

   

   

   

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